Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 1 of 22




                  EXHIBIT

                           B-41
                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 2 of 22




TO DO LIST — TANGARRA
                                                        revised May 9, 2010

DON'S WIND-DOWN TO THE USA

-Don's offshore files are transferred to a PC operating in France that is dedicated to him

-reference to all offshore files including structure maps and image library to be done
using RADMIN software into a PC in France that has these files


VISTA EQUITY FUND

-provision of quarterly reports on all portfolio companies to Bob — Evatt to follow up with
John at Vista


PROJECTS — OTHER

-build combined structure charts for the AEBCT structure

-create master document by entity of all bank accounts, signatories, and contact
persons within the banks — republish when any changes occur

-shut down Software Ltd. — after the last of Mexico clients depart — which is currently
happening

-financial reporting spreadsheet — keep up to date ( publish monthly — currently not
happening)

-make print larger on Cash Report — format for legal size paper for maximum
readability — send this in .xls form to Bob

-notify Swiss bankers that a large transaction will be occurring




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                           page [ PAGE ]of [
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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 3 of 22




PROJECTS - TRUSTEES & TRUST PROTECTORS

-document Gordon making decisions

-have Heather start keeping a file on Centre College

-annual review of Carlos Kepke files

-annual trust meeting to be set for early July when Evatt is in Bermuda

-Bob needs to send letters to Gordon with every quarter's bank reports— keeping paper
copy file

-Bob needs to send a special letter to Gordon regarding the refinancing

-Evatt needs to have personal contact with Gordon every summer while in Bermuda

-investigate Maritius as possible site for a trust with a Chinese name

-cultivate Mark Patterson as a future successor to Trevor Lloyd

-have RTB II visit Bermuda to meet Heather, Gordon, Dan Voth, Bill Dolan, BCB. BNTB




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                          page [PAGE]of [
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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 4 of 22




PRIVATE MUTUAL FUND ADMINISTRATION

-liquidate Arboria - $3.1M recovered

-liquidate Founding Partners


CURRENT INVESTMENTS — this section is starting to be re-opened due to
Reynolds refinancing, Ventyx sale, and the improving environment

-Investment Policy for Mutual Fund Investments
      -Class 4 — 0% - money market — hold for emergency transfers
      -Class 3 — 50-60% low risk equity
      -Class 2 — 20-25% medium risk equity
      -Class 1 — 15-20% higher risk equity

-TradeTrakker
      Furnish new copies of portfolio whenever buy/sell events take place

-monitor current investment performance
      -30 day deposits getting 5.25%

-follow for any potential recovery
        -Bristol — write-off — continue to follow for recovery — partial distribution of $1.7M
        received

-complete losses
      -STIR — liquidated at $5M loss in total
      -Core Digital — write-off
      -Rosefaire FCS 10% interest $1.8M
      -A/R from Gate —




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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 5 of 22




NEW INVESTMENTS

-periodically think about asset allocation

-new investment with Vista

-start a private equity type operation focusing on software companies like Vista does

-set up an investment management firm that advises Point (and if advisable — SSHLTD)

-have some other US person set up and own a US investment management firm and
have RTB be an employee

-put more funds into Regency for investment in Colorado real estate


POTENTIAL CHARITABLE DONATIONS

-Centre College


DOCUMENTS

-one more box in Houston to be indexed

-merge new documents into Houston boxes

-preparation of doomsday groups of documents for AEBCT and other principal
structures

RECORDS

-best solution for safe deposit box is to have a corporation owned by unrelated person
own the box — with signature authority to enter box — that way it is never an issue if the
person that personally owns a box dies — additionally it is less likely that a person with
signature authority to enter box is ever considered a co-owner which causes that
person's name to go into some database

-the persons with signature authority over the box should be sufficiently distant from
each other that they do not travel together



CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                           page [ PAGE ]of [
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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 6 of 22




TRIPS

-Evatt and family return to Bermuda

-Cayman — review legal status of Cayman entities once every two years and to maintain
relationship with Trevor Lloyd

-Nevis — meet Ernie Dover once every two years — has no encrypted email, retains
everything forever

-USA — twice a year — spring and fall —




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                      page [ PAGE ]of [
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                                       Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 7 of 22




STRATEGIC LONG-TERM

-Bob & Dorothy redo wills for US estate setting US testamentary trust for care of
      Robert II

-Evatt sends to Bob academic articles on the Testamentary Power of Appointment

-in the event of premature demise of RTB, offshore world (other than AEBCT and its
affiliates) should be held for RTB II to eventually manage (Dorothy will be involved in
the AEBCT structure)

-the long term vision is as follows:

       -RTB hopefully lives a long, healthy life
       -after Reynolds RTB engages in private equity investments much like Vista
       -former Reynolds key personnel join this organization
       -RTBII finishes his education in a technical area and also gets an MBA
       -RTBII eventually finds the right lady and starts a family
       -RTBII joins RTB in private equity operation
       -the private equity operation earns fees for managing AEBCT funds at industry
               standard rates providing a living for RTB and RTBII
       -the AEBCT continues to engage in charitable giving in the areas of higher
               education and medical research
       -the corpus of AEBCT is eventually rolled over to AEBGCT

-the disaster scenario where something untoward happens to RTB is as follows:

       -a US-based trusted person holds the ownership papers of the trust protector
              Corporations
       -this US-based person endeavors to guide RTBII in the long term vision laid out
              Above
       -there is a backup person to the US-based trusted person referred to above




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                          page [ PAGE]of [
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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 8 of 22




ENTITY STRUCTURE

-The Benevolent
            -Plattoon — as Mexico phases out
            -Advertising Services — as soon as one remaining account is closed

-Edge and Cabot stay separate for diversification purposes

-dismantle the structure put together for VEFIll

-reduce the number of entities - or at least focus on getting rid of inactive entities




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                             page [ PAGE ]of [
NUMPAGES ]
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                                     Exhibit B-41
    Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 9 of 22




COMMUNICATIONS/PC ISSUES

-as part of the move to Bermuda, the new fixed IP address must be tested by
setting up a RADMIN laptop at the new location and verifying that the fixed IP
address is there and works

-enlist the aid of RTB ll in getting the new Bermuda location up and running with
lambdaprime.com

-no expense should be spared in making the email server and RADMIN laptops
absolutely reliable

-move houstonfishingservice.com to Bermuda with RTB II help

-houstonfishingservice.com stays alive indefinitely as backup

-set up second email account in Bob's name on Reynolds officer server for use with
web-based email

-standards for files saved as part of the document database
      -relevant emails should be saved in word processing format
      -spreadsheets should be saved in .xls format
      -quarter and year-end reports should be saved in .pdf format
      -em ails and reports from accounting systems should be saved as part of the
      regular data archiving process

STANDARD MEETING AGENDA

-review cash balances
-review investment performance
-review structure documentation
-discuss status of each structure
-review status of files
-review status of PC systems and software

ENTITIES IN WIND-DOWN MODE — BUT STILL NOT GONE

-shut down Software BV — in liquidation process — final complete in 2017




CONFIDENTIAL - ATTORNEY/CLIENT WORK PRODUCT                        page [ PAGE ]of [
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                                     Exhibit B-41
   Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 10 of 22




DANGLING THREADS

-CITGO - used to be in BVI, but now Heritage documents that they have are in
Georgetown, will be retained forever - used to own CTL, Master, Kojak, Micro-
Mainframe, Peters - left there is correspondence with Don, trust deed copies, being
returned to BVI hopefully — status is that they cannot find these files

-Bank of Bermuda - there will be some left over internal memos written by bank officers
in their personal file at least and there are microfilm copies of incoming mail

-Carlos' correspondence, billing, multiple destination, and computer files (gone)

-files of Ken, Robert, Craig

-Brook Voght=s files - whatever is left on their network server and its backups, same
for what is at his new law firm

George Hani=s files - same issue as Brook

Ben's Jiltec and SFL records - initial reply was 10 years - find out what is the situation
on Ben=s correspondence files (maybe destroyed by hurricane)

Butterfield Cayman - computerized accounting records of everything - CTL, Jiltec, SFL,
Kojak

Baring Bros. - TIL audit reports, Carlos' correspondence, trust variance documents

VP-Bank copying of structure files and who knows what else — Glen Godfrey

VP-Bank bank records

ATU — files left behind

Malta — DBA, Providian — they will not destroy the copy of anything they ever sent out to
us

Edge involvement in VEFII

Don's files

Peter Poole's office



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Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 11 of 22




                  EXHIBIT

                            B-42
                           Exhibit B-42
Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 12 of 22
Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 13 of 22




                  EXHIBIT

                            B-43
                                                                                          Exhibit B-43
                                        Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 14 of 22


                                                                                    SIGNIFICANT TRANSACTION REPORT
                                                                                          LEGEND INVESTMENTS LTD


 DATE                  FROM                             TO             PAYMENT OUT       PAYMENT IN   INTERNAL                  BANK                                     REASON



10/24/2016   Edge Capital Investments Ltd   Legend Investments LLC                                      $500,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 4/20/2016   Edge Capital Investments Ltd   Legend Investments LLC                                      $500,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
11/23/2015   Edge Capital Investments Ltd   Legend Investments LLC                                      $500,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 7/4/2015    Edge Capital Investments Ltd   Legend Investments LLC                                      $500,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 1/30/2015   Edge Capital Investments Ltd   Legend Investments LLC                                      $500,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 4/25/2014   Edge Capital Investments Ltd   Legend Investments LLC                                    $1,000,000.00Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 4/24/2014   Legend Investments LLC         Tangarra Consultants Ltd       $580,000.00                             Bermuda Commercial Bank      Payment of ET Bonus and Incentive Fee
 2/4/2014    Edge Capital Investments Ltd   Legend Investments LLC                                     $750,000.00 Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
 1/10/2014   Legend Investments LLC         Wedge Consulting Ltd           $200,000.00                                                          Payment of Don Jones' Annual Fee
9/27/2013 Edge Capital Investments Ltd Legend Investments LLC                                          $500,000.00 Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
12/8/2012 Legend Investments LLC       Wedge Consulting Ltd                $200,000.00                                                          Payment of Don Jones' Annual Fee
 12/8/2012 Edge Capital Investments Ltd Legend Investments LLC                                         $750,000.00 Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
10/31/2012 Performance Investments LLCEvatt Tamine                         $900,000.00                             Bermuda Commercial Bank      Loan to ET to purchase English property
6/13/2012    Edge Capital Investments Ltd
                                       Legend Investments LLC                                          $500,000.00 Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
5/3/2012     Legend Investments LLC    Tangarra Consultants Ltd            $225,000.00                             Bermuda Commercial Bank      Bonus for 2011 including additional bonus
1/27/2011    Legend Investments LLC    Wedge Consulting Ltd                $200,000.00                             Bermuda Commercial Bank      Payment of Don Jones annual fee
1/27/2012    Legend Investments LLC    Wedge Consulting Ltd                $200,000.00                             Bermuda Commercial Bank      Payment of Don Jones annual fee
 1/12/2012   Edge Capital Investments Ltd
                                       Legend Investments LLC                                          $500,000.00 Bermuda Commercial Bank      Redemption by Legend Investments out of Edge
8/31/2011 Edge Capital Investments Ltd Legend Investments LLC                                          $500,000.00 Bermuda Commercial Bank      Legend redeemed Edge shares to meet ongoing costs
6/11/2011 Legend Investments LLC       Tangarra Consultants Ltd            $300,000.00                                Bermuda Commercial Bank   Contribution to building of extension on house in Bermuda
 3/3/2011 Legend Investments LLC            Tangarra Consultants Ltd       $275,000.00                                Bermuda Commercial Bank   ET bonus including additional bonus
2/26/2011 Edge Capital Investments Ltd Legend Investments LLC                                         $1,000,000.00 Bermuda Commercial Bank     Legend redeemed Edge shares to meet ongoing costs
1/4/2011 Legend Investments LLC        Wedge Consulting Ltd                $200,000.00                                Bermuda Commercial Bank   Payment of Wedge annual fee
7/17/2010 Edge Capital Investments Ltd Legend Investments LLC                                         $1,000,000.00 Bermuda Commercial Bank     Legend redeemed Edge shares to meet ongoing costs
5/21/2010 Performance Investments LLCEvatt Tamine                          $900,000.00                                Bermuda Commercial Bank   Loan to ET to purchase Bermuda property
 2/9/2010 Legend Investments LLC            Tangarra Consultants Ltd       $100,000.00                                Bermuda Commercial Bank   ET bonus
1/18/2010 Legend Investments LLC            Wedge Consulting Ltd           $200,000.00                                Bermuda Commercial Bank   Payment of Wedge annual fee
1/15/2010 Edge Capital Investments Ltd Legend Investments LLC                                          $750,000.00 Bermuda Commercial Bank      Legend redeemed Edge shares to meet ongoing costs
Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 15 of 22




                  EXHIBIT

                            B-60
                                                                                                                                                                                                                                       EXHIBIT B-60
                               Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 16 of 22


 efile GRAPHIC print - DO NOT PROCESS                                                                                          LATEST DATA - Production                                                                                                                                                                                                DLN: 93310252044650

Form   1120                                                                            U.S. Corporation Income Tax Return                                                                                                                                                                                                                                          OMB No. 1545-0123



                                                                                                                                                                                                                                                                                                                                                                     2019
                                                 For calendar year 2019 or tax year beginning 01-01-2019 , ending 12-31-2019
Department of the Treasury
Internal Revenue Service                               Go to www.irs.gov/Form1120 for instructions and the latest information.
A Check if:                                                Name                                                                                                                                                                                                                                                                                B Employer identification number
1a Consolidated return                                      Henke Holdings LLC
   (attach Form 851)
                                                                                                                                                                                                                                                                                                                                                        3576

 b Life/nonlife consolidated
                                         TYPE              Number, street, and room or suite no. If a P.O. box, see instructions.                                                                                                                                                                                                              C Date incorporated
   return . . . .                        OR                 215 S Monarch Ste 101
                                                                                                                                                                                                                                                                                                                                                       09-09-2005
2 Personal holding co.                   PRINT
                                                           City or town, state or province, country, and ZIP or foreign postal code                                                                                                                                                                                                            D Total assets (see instructions)
    (attach Sch. PH)                                         Aspen, CO 81611
3 Personal service corp.
   (see instructions) .                                                                                                                                                                                                                                                                                                                                        $              27,034,636
4 Schedule M‐3
   attached        . .                  E       Check if: (1)                                                 Initial return                                                  (2)                             Final return (3)                                                                Name change (4)                                             Address change
                                                                               (5)                             Amended Return                                                          (6)                             Superseded Return

        1a        Gross receipts or sales                              .           .           .           .       .               .           .           .           .       .               .           .       .                                   1a
            b Returns and allowances                           .           .           .           .           .           .           .           .           .           .           .           .           .                                       1b
            c     Balance. Subtract line 1b from line 1a                                                           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       1c
        2         Cost of goods sold (attach Form 1125‐A)                                                                                  .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       2
        3         Gross profit. Subtract line 2 from line 1c .                                                                 .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       3
        4         Dividends and inclusions (Schedule C, line 23)                                                                                       .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       4
        5         Interest       .   .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       5
        6         Gross rents        .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       6                           427,600
        7         Gross royalties            .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       7
        8         Capital gain net income (attach Schedule D (Form 1120))                                                                                                                              .           .           .           .           .           .           .           .           .           .           .           .   .       8                                 0
        9         Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                                                                                                                                                           .           .           .           .           .           .           .   .       9
       10         Other income (see instructions—attach statement)                                                                                                                         .           .           .           .           .           .           .           .           .           .           .           .           .   .       10                              202
       11         Total income. Add lines 3 through 10 .                                                                   .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .               11                          427,802

       12         Compensation of officers (see instructions—attach Form 1125‐E) .                                                                                                                                         .           .           .           .           .           .           .           .           .                           12
       13         Salaries and wages (less employment credits) .                                                                                       .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       13
       14         Repairs and maintenance                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       14                          164,324
       15         Bad debts          .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       15
       16         Rents          .   .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       16
       17         Taxes and licenses              .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       17                            57,445
       18         Interest (see instructions)                                  .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       18
       19         Charitable contributions                                     .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       19                                0
       20         Depreciation from Form 4562 not claimed on Form 1125‐A or elsewhere on return (attach Form 4562)                                                                                                                                                                                                                                     20                          566,765
       21         Depletion          .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       21
       22         Advertising .      .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       22
       23         Pension, profit‐sharing, etc., plans                                                 .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       23
       24         Employee benefit programs                                    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       24
       25         Reserved for future use                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       25
       26         Other deductions (attach statement)                                                              .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       26                          411,387
       27         Total deductions. Add lines 12 through 26                                                                            .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .               27                      1,199,921

       28         Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                                                                                                                                                                                                            28                       -772,119
       29a Net operating loss deduction (see instructions)                                                                                                 .           .       .               .           .       .                                   29a                                                                                         0
            b Special deductions (Schedule C, line 24) .                                                                       .               .       .               .       .           .               .                                           29b
            c Add lines 29a and 29b .                      .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .                   29c                               0
       30         Taxable income. Subtract line 29c from line 28. See instructions                                                                                                                                                                     .           .           .           .           .           .           .           .   .       30                       -772,119

       31         Total tax (Schedule J, Part I, line 11)                                                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       31

       32         2019 net 965 tax liability paid (Schedule J, Part II, line 12) .                                                                                                                     .           .           .           .           .           .           .           .           .           .           .           .   .       32

       33         Total payments, credits and section 965 net tax liability (Schedule J, Part III, line 23) .                                                                                                                                                                                          .           .           .           .   .       33                              186

       34         Estimated tax penalty. See instructions. Check if Form 2220 is attached .                                                                                                                                                            .           .           .           .           .                                               34

       35         Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed                                                                                                                                                                                                                             .   .       35

       36         Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid                                                                                                                                                                                                                          .   .       36                              186

       37         Enter amount from line 36 you want: Credited to 2020 estimated tax                                                                                                                                                                                                                       Refunded                                    37                              186
                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                                                                                                                     May the IRS discuss this return
Here               ******                                                                                                  2020-09-03                                                              President                                                                                                                                             with the preparer shown below?

                                                                                                                                                                                                                                                                                                                                                         See instructions 
                   Signature of officer                                                                                    Date                                                                    Title
                                                                                                                                                                                                                                                                                                                                                                               Yes      No

                             Print/Type preparer's name                                                                            Preparer's signature                                                                                                                        Date                                                                    PTIN
                             Carl B Linnecke                                                                                                                                                                                                                                                                               Check       if
Paid                                                                                                                                                                                                                                                                                                                       self-employed                             3312

Preparer                     Firm's name              Carl B Linnecke CPA PC                                                                                                                                                                                                                                                                           Firm's EIN             0448

Use Only                     Firm's address           215 S Monarch Ste 101                                                                                                                                                                                                                                                                            Phone no. (970) 925-1040

                                                      Aspen, CO, 81611

For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                 Cat. No. 11450Q                                                                                                                       Form 1120 (2019)
                                                                                     EXHIBIT B-60
                      Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 17 of 22


Form 1120 (2019)                                                                                                                                                             Page 4
 Schedule K          Other Information (see instructions)
                                                                                                                                                                            Yes No
 1    Check accounting method:        a      Cash       b     Accrual      c       Other (specify)
 2    See the instructions and enter the:
  a Business activity code no.         531110

  b Business activity         REAL ESTATE

  c   Product or service      Investment

 3    Is the corporation a subsidiary in an affiliated group or a parent—subsidiary controlled group?       .   .   .       .       .       .       .       .   .   .   .   Yes

      If "Yes," enter name and EIN of the parent corporation         Regency Management Ltd
                FOREIGNUS

 4    At the end of the tax year:
  a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax‐exempt organization
    own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
    stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G)        . . . . . . . . . .              Yes
  b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
    classes of the corporation’s stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G)
                                                                                                                                                                                  No
 5    At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to
    vote of any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership,
    see instructions.                                                                                                                                                             No
      If "Yes," complete (i) through (iv) below.


                                                                                      (ii) Employer                                                         (iv) Percentage
                                                                                                            (iii) Country of
                           (i) Name of Corporation                                Identification Number                                                     Owned in Voting
                                                                                                             Incorporation
                                                                                          (if any)                                                               Stock




  b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic
    partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership,
    see instructions.                                                                                                                                                             No
      If "Yes," complete (i) through (iv) below.


                                                                                                                                                (iv)Maximum Percentage
                                                                                (ii)Employer Identification (iii) Country of
                             (i) Name of Entity                                                                                                  Owned in Profit, Loss or
                                                                                     Number (if any)         Organization
                                                                                                                                                        Capital




 6    During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
      excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316           . . . . . . .                                        .         No

      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7    At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
      classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock?  .                              .   Yes
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned                                   100.000 % and (b) Owner’s country        BD
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign‐Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached    1

 8    Check this box if the corporation issued publicly offered debt instruments with original issue discount .         .       .       .       .       .
      If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
      Instruments.
 9    Enter the amount of tax‐exempt interest received or accrued during the tax year        $
10    Enter the number of shareholders at the end of the tax year (if 100 or fewer)      1
11    If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502‐21(b)(3) must be attached or
      the election will not be valid.

12    Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on page 1, line 29a.)
                                                                                                                    $                                           2,390,744
                                                                                                                                                                Form 1120 (2019)
                                                                                     EXHIBIT B-60
                             Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 18 of 22


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SCHEDULE G                                  Information on Certain Persons Owning the                                          OMB No. 1545-0123
(Form 1120)
(Rev. December 2011)
                                                    Corporation's Voting Stock
Department of the Treasury
Internal Revenue Service                                        Attach to Form 1120.
                                                              See instructions on page 2.
Name                                                                                                         Employer identification number (EIN)
Henke Holdings LLC
                                                                                                                     3576
 Part I        Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
               columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
               partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or indirectly, 50% or
               more of the total voting power of all classes of the corporation’s stock entitled to vote (see instructions).


                                                                (ii) Employer
                                                                Identification     (iii) Type of        (iv) Country of        (v) Percentage Owned
                             (i) Name of Entity
                                                                    Number             Entity            Organization              in Voting Stock
                                                                    (if any)
Regency Management Ltd
                                                               FOREIGNUS          Corporation                  OC                            100 %




Part II        Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4b).
               Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or more, or owns, directly
               or indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
               instructions).


                                                                         (ii) Identifying
                                                                                             (iii) Country of Citzenship     (iv) Percentage Owned
                        (i) Name of Individual or Estate                     Number
                                                                                                   (see instructions)             in Voting Stock
                                                                              (if any)




For Paperwork Reduction Act Notice, see the Instructions for Form 1120.              Cat. No. 52684S       Schedule G (Form 1120) (Rev. 12-2011)
Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 19 of 22




                  EXHIBIT

                            B-61
                                                                                                                                                                                                                                       EXHIBIT B-61
                               Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 20 of 22


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Form   1120                                                                            U.S. Corporation Income Tax Return                                                                                                                                                                                                                                          OMB No. 1545-0123



                                                                                                                                                                                                                                                                                                                                                                     2019
                                                 For calendar year 2019 or tax year beginning 01-01-2019 , ending 12-31-2019
Department of the Treasury
Internal Revenue Service                               Go to www.irs.gov/Form1120 for instructions and the latest information.
A Check if:                                                Name                                                                                                                                                                                                                                                                                B Employer identification number
1a Consolidated return                                      Mountain Queen Inc
   (attach Form 851)
                                                                                                                                                                                                                                                                                                                                                        6032

 b Life/nonlife consolidated
                                         TYPE              Number, street, and room or suite no. If a P.O. box, see instructions.                                                                                                                                                                                                              C Date incorporated
   return . . . .                        OR                 215 S Monarch Suite 101
                                                                                                                                                                                                                                                                                                                                                       04-30-1998
2 Personal holding co.                   PRINT
                                                           City or town, state or province, country, and ZIP or foreign postal code                                                                                                                                                                                                            D Total assets (see instructions)
    (attach Sch. PH)                                         Aspen, CO 81611
3 Personal service corp.
   (see instructions) .                                                                                                                                                                                                                                                                                                                                        $              24,089,216
4 Schedule M‐3
   attached        . .                  E       Check if: (1)                                                 Initial return                                                  (2)                             Final return (3)                                                                Name change (4)                                             Address change
                                                                               (5)                             Amended Return                                                          (6)                             Superseded Return

        1a        Gross receipts or sales                              .           .           .           .       .               .           .           .           .       .               .           .       .                                   1a
            b Returns and allowances                           .           .           .           .           .           .           .           .           .           .           .           .           .                                       1b
            c     Balance. Subtract line 1b from line 1a                                                           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       1c
        2         Cost of goods sold (attach Form 1125‐A)                                                                                  .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       2
        3         Gross profit. Subtract line 2 from line 1c .                                                                 .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       3
        4         Dividends and inclusions (Schedule C, line 23)                                                                                       .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       4
        5         Interest       .   .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       5                               228
        6         Gross rents        .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       6                           770,730
        7         Gross royalties            .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       7
        8         Capital gain net income (attach Schedule D (Form 1120))                                                                                                                              .           .           .           .           .           .           .           .           .           .           .           .   .       8
        9         Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                                                                                                                                                           .           .           .           .           .           .           .   .       9
       10         Other income (see instructions—attach statement)                                                                                                                         .           .           .           .           .           .           .           .           .           .           .           .           .   .       10                              447
       11         Total income. Add lines 3 through 10 .                                                                   .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .               11                          771,405

       12         Compensation of officers (see instructions—attach Form 1125‐E) .                                                                                                                                         .           .           .           .           .           .           .           .           .                           12
       13         Salaries and wages (less employment credits) .                                                                                       .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       13
       14         Repairs and maintenance                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       14                          153,335
       15         Bad debts          .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       15
       16         Rents          .   .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       16
       17         Taxes and licenses              .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       17                            28,797
       18         Interest (see instructions)                                  .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       18
       19         Charitable contributions                                     .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       19
       20         Depreciation from Form 4562 not claimed on Form 1125‐A or elsewhere on return (attach Form 4562)                                                                                                                                                                                                                                     20                          294,979
       21         Depletion          .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       21
       22         Advertising .      .       .    .    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       22
       23         Pension, profit‐sharing, etc., plans                                                 .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       23
       24         Employee benefit programs                                    .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       24
       25         Reserved for future use                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       25
       26         Other deductions (attach statement)                                                              .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       26                          487,802
       27         Total deductions. Add lines 12 through 26                                                                            .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .               27                          964,913

       28         Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                                                                                                                                                                                                            28                       -193,508
       29a Net operating loss deduction (see instructions)                                                                                                 .           .       .               .           .       .                                   29a                                                                                         0
            b Special deductions (Schedule C, line 24) .                                                                       .               .       .               .       .           .               .                                           29b
            c Add lines 29a and 29b .                      .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .                   29c                               0
       30         Taxable income. Subtract line 29c from line 28. See instructions                                                                                                                                                                     .           .           .           .           .           .           .           .   .       30                       -193,508

       31         Total tax (Schedule J, Part I, line 11)                                                          .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .           .   .       31

       32         2019 net 965 tax liability paid (Schedule J, Part II, line 12) .                                                                                                                     .           .           .           .           .           .           .           .           .           .           .           .   .       32

       33         Total payments, credits and section 965 net tax liability (Schedule J, Part III, line 23) .                                                                                                                                                                                          .           .           .           .   .       33

       34         Estimated tax penalty. See instructions. Check if Form 2220 is attached .                                                                                                                                                            .           .           .           .           .                                               34

       35         Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed                                                                                                                                                                                                                             .   .       35

       36         Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid                                                                                                                                                                                                                          .   .       36

       37         Enter amount from line 36 you want: Credited to 2020 estimated tax                                                                                                                                                                                                                       Refunded                                    37
                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                                                                                                                     May the IRS discuss this return
Here               ******                                                                                                  2020-08-31                                                              President                                                                                                                                             with the preparer shown below?

                                                                                                                                                                                                                                                                                                                                                         See instructions 
                   Signature of officer                                                                                    Date                                                                    Title
                                                                                                                                                                                                                                                                                                                                                                               Yes      No

                             Print/Type preparer's name                                                                            Preparer's signature                                                                                                                        Date                                                                    PTIN
                             Carl B Linnecke                                                                                                                                                                                                                                                                               Check       if
Paid                                                                                                                                                                                                                                                                                                                       self-employed                              312

Preparer                     Firm's name              Carl B Linnecke CPA PC                                                                                                                                                                                                                                                                           Firm's EIN             0448

Use Only                     Firm's address           215 S Monarch Ste 101                                                                                                                                                                                                                                                                            Phone no. (970) 925-1040

                                                      Aspen, CO, 81611

For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                 Cat. No. 11450Q                                                                                                                       Form 1120 (2019)
                                                                                     EXHIBIT B-61
                      Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 21 of 22


Form 1120 (2019)                                                                                                                                                             Page 4
 Schedule K          Other Information (see instructions)
                                                                                                                                                                            Yes No
 1    Check accounting method:        a      Cash       b     Accrual      c       Other (specify)
 2    See the instructions and enter the:
  a Business activity code no.         531390

  b Business activity         REAL ESTATE

  c   Product or service      Investment

 3    Is the corporation a subsidiary in an affiliated group or a parent—subsidiary controlled group?       .   .   .       .       .       .       .       .   .   .   .   Yes

      If "Yes," enter name and EIN of the parent corporation         Regency Management Ltd
                FOREIGNUS

 4    At the end of the tax year:
  a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax‐exempt organization
    own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
    stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G)        . . . . . . . . . .              Yes
  b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
    classes of the corporation’s stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G)
                                                                                                                                                                                  No
 5    At the end of the tax year, did the corporation:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to
    vote of any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership,
    see instructions.                                                                                                                                                             No
      If "Yes," complete (i) through (iv) below.


                                                                                      (ii) Employer                                                         (iv) Percentage
                                                                                                            (iii) Country of
                           (i) Name of Corporation                                Identification Number                                                     Owned in Voting
                                                                                                             Incorporation
                                                                                          (if any)                                                               Stock




  b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic
    partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership,
    see instructions.                                                                                                                                                             No
      If "Yes," complete (i) through (iv) below.


                                                                                                                                                (iv)Maximum Percentage
                                                                                (ii)Employer Identification (iii) Country of
                             (i) Name of Entity                                                                                                  Owned in Profit, Loss or
                                                                                     Number (if any)         Organization
                                                                                                                                                        Capital




 6    During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
      excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316           . . . . . . .                                        .         No

      If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
      If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
 7    At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
      classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock?  .                              .   Yes
      For rules of attribution, see section 318. If "Yes," enter:
      (a) Percentage owned                                   100.000 % and (b) Owner’s country        BD
      (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign‐Owned U.S. Corporation or a Foreign
      Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached    1

 8    Check this box if the corporation issued publicly offered debt instruments with original issue discount .         .       .       .       .       .
      If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
      Instruments.
 9    Enter the amount of tax‐exempt interest received or accrued during the tax year        $
10    Enter the number of shareholders at the end of the tax year (if 100 or fewer)      1
11    If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)
      If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502‐21(b)(3) must be attached or
      the election will not be valid.

12    Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on page 1, line 29a.)
                                                                                                                    $                                           4,713,846
                                                                                                                                                                Form 1120 (2019)
                                                                                     EXHIBIT B-61
                             Case 4:22-cv-00202 Document 25-2 Filed on 01/31/22 in TXSD Page 22 of 22


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SCHEDULE G                                  Information on Certain Persons Owning the                                          OMB No. 1545-0123
(Form 1120)
(Rev. December 2011)
                                                    Corporation's Voting Stock
Department of the Treasury
Internal Revenue Service                                        Attach to Form 1120.
                                                              See instructions on page 2.
Name                                                                                                         Employer identification number (EIN)
Mountain Queen Inc
                                                                                                                     6032
 Part I        Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
               columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
               partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or indirectly, 50% or
               more of the total voting power of all classes of the corporation’s stock entitled to vote (see instructions).


                                                                (ii) Employer
                                                                Identification     (iii) Type of        (iv) Country of        (v) Percentage Owned
                             (i) Name of Entity
                                                                    Number             Entity            Organization              in Voting Stock
                                                                    (if any)
Regency Management Ltd
                                                               FOREIGNUS          Corporation                  OC                            100 %




Part II        Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4b).
               Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or more, or owns, directly
               or indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
               instructions).


                                                                         (ii) Identifying
                                                                                             (iii) Country of Citzenship     (iv) Percentage Owned
                        (i) Name of Individual or Estate                     Number
                                                                                                   (see instructions)             in Voting Stock
                                                                              (if any)




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